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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                          OWENSBORO DIVISION

 CRIMINAL ACTION NUMBER: 4:10CR-18-M

 UNITED STATES OF AMERICA                                                  PLAINTIFF

 V.

 CHRISTINA ANN GILLETTE                                                 DEFENDANT

                      ACCEPTANCE OF PLEA OF GUILTY,
                       ADJUDICATION OF GUILT, AND
                          NOTICE OF SENTENCING


             Pursuant to the Report and Recommendation of the United States

 Magistrate Judge, the plea of guilty of the Defendant to Count 3 of the Indictment

 is hereby accepted, and the Defendant is adjudged guilty of such offense.

             In order to proceed under the Sentencing Reform Act of 1984 (Pub.

 L. 98-473, Title II, c. 2, Sections 211-239), 18 U.S.C. Sections 3551-3559,

             IT IS HEREBY ORDERED as follows:

             1.     Sentencing proceedings are set in this case on the 26th day

 of May, 2011, at 9:00 AM CDT, U.S. Courthouse, Owensboro, Kentucky.

             2.     Not less than thirty-five (35) days prior to the date set for

 sentencing, the Probation Officer shall provide a copy of the Presentence

 Investigation Report to the defendant and to counsel for both the defendant and

 the United States. Within fourteen (14) days thereafter, counsel shall

 communicate, in writing, to the Probation Office and to opposing counsel any
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 objections they may have as to any material information, sentencing

 classifications, sentencing guideline ranges, and policy statements contained in

 or omitted from the Report.

             3.     After receiving counsel's objections, the Probation Officer shall

 conduct any further investigation and make any revisions to the Presentence

 Report that may be necessary. The Probation Officer may require counsel for

 both parties to meet with the officer to discuss unresolved factual and legal

 issues.

             4.     Prior to the date of the sentencing hearing, the Probation

 Officer shall submit the Presentence Report to the sentencing Judge. The Report

 shall be accompanied by the written objections of counsel, and by an addendum

 setting forth any objections counsel may have made that have not been resolved,

 together with the officer's comments thereon. The Probation Officer shall provide

 a copy of any addendum to the Presentence Investigation Report, including any

 revisions thereof, to the defendant and to counsel for the defendant and the

 United States.

             5.     Not less than twenty (20) days prior to the sentencing

 hearing, the parties shall communicate with each other to discuss the

 scope of the sentencing hearing and make certain disclosures. Each party

 shall disclose to the other if it intends to argue for a non-guideline

 sentence. The parties shall disclose whether they intend to call witnesses

 at the hearing. If so, those witnesses shall be identified and the nature of
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 their testimony revealed. The parties shall also exchange a written

 summary of any expert witness testimony describing the witness’s

 opinions, the bases and reasons for the opinions, and the witness’s

 qualifications.

             For any sentencing in which testimony is expected, the parties

 shall estimate the length of time required for the sentencing hearing and

 communicate same to Erica A. Skinner, Case Manager for Judge McKinley.

             6.     Not less than ten (10) days prior to the sentencing

 hearing, the parties shall file a Sentencing Memorandum in support of their

 respective positions on any unresolved objections to the Presentence

 Investigation Report, including any objections to the calculation of the

 advisory sentencing guidelines contained therein. Furthermore, in the

 event a non-guideline sentence is advocated, the Sentencing Memorandum

 shall address the factors of 18 U.S.C. § 3553(a).

             7.     Except with regard to any objection made under Paragraph 4

 that has not been resolved, the Report of the Presentence Investigation may be

 accepted by the Court as accurate. The Court, however, for good cause shown,

 may allow new objections to be raised at any time before the imposition of

 sentence. In resolving disputed issues of fact, the Court may consider any

 reliable information presented by the Probation Officer, the defendant or the

 United States.
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              8.    The time set forth in this Order may be modified by the Court

 for good cause shown, except that the ten (10) day period provided for disclosure

 of the Presentence Report pursuant to 18 U.S.C. Section 3552(d) may be

 diminished only with the consent of the defendant.

              9.    Nothing in this Order requires the disclosure of any portions of

 the Presentence Report that are not disclosable under Criminal Rule 32(c).

              10.   The Presentence Report shall be deemed to have been

 disclosed:

                    a.    When the Report is physically delivered to counsel;

                    b.    One day after the Report's availability is orally
                          communicated to counsel; or

                    c.    Three (3) days after notice of its availability is mailed to
                          counsel, or the date of availability reflected in the notice,
                          whichever is later.

              11.   It shall be the responsibility of counsel for the defendant to

 disclose the Report to the defendant.

              12.   The general conditions of probation as set forth in Probation

 Form 7A shall apply to the defendant if placed on probation or supervised

 release, and all persons placed on probation or supervised release shall submit

 to photographs by the Probation Officer as a condition of probation or supervised

 release.


 Copies to:   Counsel of Record
              U.S. Marshal
              U.S. Probation
                                                                    March 15, 2011
